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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                  4:09CR3044
                                        )
             v.                         )
                                        )
JOSH BAKER,                             )                MEMORANDUM
                                        )                 AND ORDER
                   Defendant.           )

      In Judge Piester’s absence,

       IT IS ORDERED that the motion for pretrial release (filing 62) will be taken
up before me on Thursday, June 18, 2009, at 11:30 a.m. Prior to that date, counsel
for defendant and counsel for the government shall confer with the pretrial services
officer and attempt to reach agreement on the conditions of release. If agreement can
be reached, they shall notify the courtroom deputy so that she may prepare a release
order for consideration at the time set forth above. The Clerk shall provide a copy
of this document to the pretrial services office and the United States Marshals
Service. The defendant shall be present at the hearing described above.

      DATED this 12th day of June, 2009.

                                       BY THE COURT:

                                       s/Richard G. Kopf
                                       United States District Judge
